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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

   GRAHAM T. CHELIUS, M.D., et                 CIV. NO. 17-00493 JAO-RT
   al.,
      Plaintiffs,                              [CIVIL RIGHTS ACTION]

                vs.
                                               ORDER GRANTING MOTION
   ALEX M. AZAR, J.D., in his official         TO WITHDRAW
   capacity as SECRETARY, U.S.                 APPEARANCE OF COUNSEL
   D.H.H.S., et al.,
                                               MATEO CABALLERO
                        Defendants.


                 ORDER GRANTING MOTION TO WITHDRAW
               APPEARANCE OF COUNSEL MATEO CABALLERO

        Before the Court is Plaintiffs’ counsel’s Motion to Withdraw Appearance of

  Counsel Mateo Caballero (“Motion to Withdraw”). ECF No. 121. Mr. Caballero

  seeks to withdraw his appearance of counsel in the instant case because he will no

  longer be working for the American Civil Liberties Union of Hawaiʻi.

        The Court finds the Motion to Withdraw suitable for disposition without a

  hearing pursuant to Rule 7.1(c) of the Local Rules of Practice for the United State

  District Court for the District of Hawaii.

        For good cause shown and pursuant to Local Rule 83.5, the Court GRANTS

  the Motion to Withdraw. Mateo Caballero is hereby withdrawn as counsel for
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  Plaintiffs. Remaining counsel, including Jongwook “Wookie” Kim and Julia Kaye

  will continue to appear on behalf of Plaintiffs.

        IT IS SO ORDERED.

        DATED: Honolulu, Hawaii, January 20, 2021.




                                        /s/ Rom A. Trader
                                        Rom A. Trader
                                        United States Magistrate Judge




  Civ. No. 17-00493 JAO-RT; Chelius, et al. v. Azar, et al.; Order Granting Motion
  to Withdraw Appearance of Counsel Mateo Caballero.




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